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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 YENI PONCE AGUIRRE,

            Plaintiff,

            v.                                           Case No. 21-2058-JAR-ADM

 UNITED STATES CITIZENSHIP AND
 IMMIGRATION SERVICES,

            Defendant.


                 ORDER ADOPTING REPORT AND RECOMMENDATION

       This matter is before the Court on the Report and Recommendation filed on May 20,

2021 (Doc. 4). Fourteen days having passed, and no written objections being filed to the

proposed findings and recommendations by Magistrate Judge Angel D. Mitchell, and after a de

novo determination upon the record pursuant to Fed. R. Civ. P. 72(b), the Court accepts the

recommended decision and adopts it as its own.

       IT IS THEREFORE ORDERED BY THE COURT that in accordance with the May

20, 2021 Report and Recommendation (Doc. 4), this case is dismissed without prejudice

pursuant to Fed. R. Civ. P. 4(m).

       IT IS SO ORDERED.

       Dated: June 8, 2021

                                                 JAR sig.
                                                 JULIE A. ROBINSON
                                                 CHIEF UNITED STATES DISTRICT JUDGE
